             Case 21-80052                   Doc         Filed 04/26/24                Entered 04/26/24 13:08:46                           Desc Main
                                                             Document                  Page 1 of 7

Fill in this information to identify the case:

Debtor 1
                           Christopher Dombkowski
Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:            Northern           District of      Illinois
                                                                                    (State)

Case number              21-80052



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                                 12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
    Name of creditor:            Guaranteed Rate, Inc.                                                    Court claim no. (if known):           5


    Last 4 digits of any number you use to                                                                Date of payment change:
    Identify the debtor’s account:                       2613                                             Must be at least 21 days after            06/01/2024
                                                                                                          date
                                                                                                          of this notice


                                                                                                          New total payment                         $3,126.12
                                                                                                          Principal, interest, and escrow, if
                                                                                                          any



Part 1:               Escrow Account Payment Adjustment

1. Will there be a change in the debtor’s escrow account payment?

      ❑ No
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
            the basis for the change. If a statement is not attached, explain why:


               Current escrow payment:          $1,358.40                                     New escrow payment:        $1,581.18


Part 2:               Mortgage Payment Adjustment
2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor’s
variable-rate account?

       No
      ❑ Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
            attached, explain why:


               Current interest rate                                      %                   New interest rate:                                    %

               Current principal and interest payment:          $                             New principal and interest payment:          $


Part 3:               Other Payment Change
3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?

       No
      ❑ Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
               (Court approval may be required before the payment change can take effect.)

               Reason for change:

               Current mortgage payment:           $                                          New mortgage payment:         $




Official Form 410S1                                                 Notice of Mortgage Payment Change                                                            page 1
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Debtor 1             Christopher Dombkowski                                                   Case number (if known)    21-80052
                     First Name     Middle Name           Last Name



Part 4:         Sign Here
The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

        ❑ I am the creditor.

         I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.



x       /s/ Kerrie S. Mattson-Neal                                                                   Date        4/26/2024
    Signature



Print                  Kerrie S. Mattson-Neal                                                        Title       Attorney for Creditor
                       First Name           Middle Name               Last Name



Company                Codilis & Associates, P.C.


Address                15W030 North Frontage Road, Suite 100
                       Number          Street

                       Burr Ridge                    IL                    60527
                       City                                State           ZIP Code

                                                                                                                bkpleadingsNORTHERN@il
Contact phone          (630) 794-5300                                                                Email      .cslegal.com




Official Form 410S1                                                Notice of Mortgage Payment Change                                     page 2
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                                           CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that I have served a copy of this Notice
upon the parties listed below, as to the Trustee and Debtor's attorney via electronic notice on
April 26, 2024 and as to the debtor by causing same to be mailed in a properly addressed
envelope, postage prepaid, from 7140 Monroe Street, Willowbrook, IL 60527 before the hour of
5:00 PM on April 26, 2024.

Lydia Meyer, Chapter 13 Trustee, P.o. Box 14127, Rockford, IL 61105-4127 by electronic notice
through ECF
Christopher Dombkowski, Debtor(s), 1503 Summerhill Lane, Cary, IL 60013
Dustin B. Allen, Attorney for Debtor(s), PO Box 681232, Schaumburg, IL 60168 by electronic notice
through ECF
Office of U.S. Trustee, 780 Regent St., Suite 304, Madison, WI 53715 by electronic notice through
ECF




                                                         /s/ Kerrie S. Mattson-Neal
                                                         Attorney for Creditor

Terri M. Long ARDC#6196966
Peter C. Bastianen ARDC#6244346
Joel P. Fonferko ARDC#6276490
Berton J. Maley ARDC#6209399
Michael P. Kelleher ARDC#6198788
Kerrie S. Mattson-Neal ARDC#6270224
Codilis & Associates, P.C.
15W030 North Frontage Road, Suite 100
Burr Ridge, IL 60527
(630) 794-5300
bkpleadingsNORTHERN@il.cslegal.com
File No. 14-22-09389

NOTE: This law firm is a debt collector.
                                                                                                                    ANNUAL ESCROW ACCOUNT Page 1
                 Case 21-80052                Doc Representation of Printed Document
                                                    Filed 04/26/24   Entered 04/26/24 13:08:46  Desc Main
                                                                                        DISCLOSURE STATEMENT
                                                        Document     Page 4 of 7
         RETURN SERVICE ONLY                                                                              Customer Service:                      866-681-2264
         Please do not send mail to this address
         PO BOX 100081, Duluth, GA 30096-9377                                                             Property Tax:                          833-662-0317
                                                                                                          Property Insurance:                    833-811-3064

                                                   PERSONAL INFORMATION REDACTED
                                                                                                          NMLS #2611
         CHRIS DOMBKOWSKI
         CRYSTAL NOE                                                                                      Correspondence Address:                 PO BOX 100077
         1503 SUMMERHILL LN                                                                                                               Duluth, GA 30096-9377
         CARY IL 60013-6502

                                                                                                                             www.rate.com/SM


                                                                                                      Loan Number:
                                                                                                   Property Address:                       1503 SUMMERHILL LN
                                                                                                                                                  CARY IL 60013
                                                                                                     Statement Date:                                  04/12/24

 Why am I receiving this statement?
 You are receiving this statement because we have completed an analysis of your escrow account. Your escrow account is the account
 that we use to pay property costs, such as property taxes, homeowners insurance, and mortgage insurance. At least once a year, we
 are required to analyze your escrow account to ensure your monthly payment is sufficient to pay your escrowed property costs.

                                                   Based on our review, you have a shortage of $2,273.08.

                                Your payment may be changing, please see the chart below for more information.

This means that we do not expect to have sufficient funds in your escrow account over the next 12 months to pay your escrowed
property costs. Don't worry, even if there aren't enough funds in your account, we will still complete these payments on your behalf.
This shortage was caused by changes in your taxes, insurance, or escrow deposits. Your Escrow Account History shows the most recent
transactions on your account. Your Escrow Account Projections show anticipated payments over the next 12 months.




                                                          Your New Mortgage Payment

                                                                                                                              New Monthly Payment
                                                                                       Current Monthly Payment                beginning on 6/1/2024
            Pay the shortage of                     Principal & Interest:                      $1,544.94                             $1,544.94
            $2,273.08 over the                       Escrow Payment:                           $1,358.40                             $1,391.76
            next 12 payments.                             Shortage:                              $0.00                                $189.42
                                                      Total Payment:                           $2,903.34                            $3,126.12*




*If your mortgage payments are set up on an auto-draft, we will automatically adjust your payment for you.
**If you have an adjustable rate mortgage (ARM), we will send a separate notice to you before your payment is scheduled to change.




                                                                            Shortage




                            We will collect your escrow shortage of $2,273.08 over the next 12 payments.
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                                                                      Your Escrow Account History
                   The following statement displays actual activity as it occurred in your escrow account from June 2023 to May 2024.

                               Projected         Actual
                               Payment          Payment                                               Projected           Actual          Projected    Actual
                     Month     to Escrow       to Escrow                 Description                Disbursement      Disbursement         Balance    Balance
                                                                      Beginning Balance                                                  $5,827.69  $4,580.11
                    Jun 23      $1,288.44              *               MORTGAGE INS                    -$103.14       -$103.14           $7,012.99 $4,476.97
                    Jul 23      $1,288.44    $1,358.40 *               MORTGAGE INS                    -$103.14       -$103.14            $8,198.29 $5,732.23
                    Aug 23      $1,288.44    $1,358.40 *               MORTGAGE INS                    -$103.14       -$103.14            $9,383.59 $6,987.49
                    Aug 23                                              PROPERTY TAX                  -$6,025.29     -$6,330.23 *         $3,358.30   $657.26
                    Sep 23      $1,288.44    $1,358.40 *               MORTGAGE INS                    -$103.14       -$103.14            $4,543.60 $1,912.52
                    Sep 23                                               HAZARD INS                   -$2,173.00     -$2,803.00 *         $2,370.60  -$890.48
                    Oct 23      $1,288.44    $1,358.40 *               MORTGAGE INS                    -$103.14       -$103.14            $3,555.90   $364.78
                    Nov 23      $1,288.44    $1,358.40 *               MORTGAGE INS                    -$103.14       -$103.14            $4,741.20 $1,620.04
                    Dec 23      $1,288.44    $1,358.40 *               MORTGAGE INS                    -$103.14       -$103.14            $5,926.50 $2,875.30
                    Jan 24      $1,288.44    $1,358.40 *               MORTGAGE INS                    -$103.14       -$103.14            $7,111.80 $4,130.56
                    Feb 24      $1,288.44    $1,358.40 *               MORTGAGE INS                    -$103.14       -$103.14            $8,297.10 $5,385.82
                    Mar 24      $1,288.44              *               MORTGAGE INS                    -$103.14       -$103.14           $9,482.40 $5,282.68
                    Apr 24      $1,288.44    $4,075.20 *E              MORTGAGE INS                    -$103.14       -$103.14 E         $10,667.70 $9,254.74    E
                    May 24      $1,288.44    $1,358.40 *E              MORTGAGE INS                    -$103.14                 *E       $11,853.00 $10,613.14   E
                    May 24                             E                PROPERTY TAX                  -$6,025.29     -$6,330.23 *E        $5,827.71 $4,282.91    E
                                                                                                                Account balance as of May 2024:     $4,282.91
                   An asterisk (*) indicates a difference from a previous estimate either in the date or the amount of the deposit/disbursement.
                   **An 'E' indicates anticipated escrow activity that has not yet occurred prior to the effective date of this analysis.


                                                                During the history period of June 2023 to May 2024

                                                                   Total Escrow Payments Received:                  $16,300.80
                                                                      Total Escrow Disbursements:                   -$16,598.00
                                                           Interest on Escrow Deposited to your Account:               $0.00
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                                                                                                                                    Page 3
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                                              Your Escrow Account
                                                  Document   Page Projections
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                                                           Projected Escrow Summary
                                               Anticipated Annual                                       New Monthly Escrow
                                                 Disbursement                                                Payment
                 Mortgage Insurance*:                $1,237.68               ÷        12         =             $103.14
                    Property Tax*:                   $12,660.46              ÷        12         =            $1,055.04
                  Hazard Insurance*:                 $2,803.00               ÷        12         =             $233.58
                         Total:                      $16,701.14              ÷        12         =            $1,391.76

       *These amounts are based on any escrow items that may have been paid in the past and any future payments that we expect to make.
       The following summary shows projected activity in your escrow account for the next twelve months, which was used to calculate your
       payment above.

                  Monthly
                   Escrow               Amount                                                       Projected Escrow     Required Escrow
     Month        Payment         Estimated to be Paid                   Description                     Balance             Balance
                                                                      Beginning Balance                 $4,282.91             $6,555.99
     Jun 24       $1,391.76              -$103.14                      MORTGAGE INS                      $5,571.53             $7,844.61
      Jul 24      $1,391.76              -$103.14                      MORTGAGE INS                      $6,860.15             $9,133.23
     Aug 24       $1,391.76              -$103.14                      MORTGAGE INS                      $8,148.77            $10,421.85
     Aug 24                             -$6,330.23                     PROPERTY TAX                      $1,818.54             $4,091.62
     Sep 24       $1,391.76              -$103.14                      MORTGAGE INS                      $3,107.16             $5,380.24
     Sep 24                             -$2,803.00                      HAZARD INS                        $304.16             $2,577.24
     Oct 24       $1,391.76              -$103.14                      MORTGAGE INS                      $1,592.78             $3,865.86
     Nov 24       $1,391.76              -$103.14                      MORTGAGE INS                      $2,881.40             $5,154.48
     Dec 24       $1,391.76              -$103.14                      MORTGAGE INS                      $4,170.02             $6,443.10
     Jan 25       $1,391.76              -$103.14                      MORTGAGE INS                      $5,458.64             $7,731.72
     Feb 25       $1,391.76              -$103.14                      MORTGAGE INS                      $6,747.26             $9,020.34
     Mar 25       $1,391.76              -$103.14                      MORTGAGE INS                      $8,035.88            $10,308.96
     Apr 25       $1,391.76              -$103.14                      MORTGAGE INS                      $9,324.50            $11,597.58
     May 25       $1,391.76              -$103.14                      MORTGAGE INS                     $10,613.12            $12,886.20
     May 25                             -$6,330.23                     PROPERTY TAX                      $4,282.89             $6,555.97




                            Here is how we calculated your shortage based on the highlighted line above:


                                                  Projected Low Balance              $304.16
                                         -     Required Minimum Balance             $2,577.24
                                         =           Shortage Amount                -$2,273.08




Your required minimum balance for the next 12 months is $2,577.24, which equals a reserve of 2 month escrow deposit. Federal law
allows us to include a minimum balance cash reserve to help cover any increases in your property costs. In order to reach this low
point, your required escrow balance after your May payment should be $6,555.99, while your actual escrow balance is estimated to
be $4,282.91. The difference, $2,273.08, represents an escrow shortage and will be spread over the next 12 payments unless your
shortage is paid in full.

Please remember, as your taxes and/or insurance change, the escrow portion of your payment may change. If you have any
questions about this Escrow Analysis, please call our Customer Service Department toll free at 866-681-2264.
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                                                        Additional Information
Servicer Notice
ServiceMac, LLC (NMLS #1687766) provides certain mortgage servicing functions and services on behalf of Guaranteed Rate, (NMLS # 2611). For
more information regarding ServiceMac, LLC including licensing and other legal information, please visit www.myservicemac.com. Visit NMLS
Consumer Access at www.nmlsconsumeraccess.org.

Notice regarding Bankruptcy: If you are a debtor involved in a bankruptcy proceeding, this statement has been sent to you merely for
informational purposes and should be disregarded as an attempt to collect the debt (unless your mortgage is subject to an in rem order).
The amount stated may not accurately reflect the debt owed.

Information for Servicemembers and their dependents: Servicemembers Civil Relief Act – The SCRA may offer protection or relief to military
members who have been called to active duty. If either you have been called to active duty or you are the spouse, registered domestic partner,
partner in a civil union, or financial dependent of a person who has been called to active duty, and you have not yet made us aware of your status,
please contact Customer Service at 866-681-2264.

Successor in Interest: A successor in interest is someone who acquires an ownership interest in a property secured by a mortgage loan by transfer
upon the death of a relative, as a result of a divorce or legal separation, through certain trusts, between spouses, from a parent to a child, or when
a borrower who is a joint tenant or tenant by the entirety dies. If you are a successor in interest, or you think you might be, please contact us by
phone, mail or email to start the confirmation process.

HUD Counseling Notice: For help exploring options, the Federal government provides contact information for housing counselors, which you can
access by contacting the Consumer Financial Protection Bureau at www.consumerfinance.gov/find-a-housing-counselor or obtain no-cost assistance
by contacting the Department of Housing and Urban Development at www.hudgov/offices/hsg/sfh/hcc/hcs.cfmor by calling 1-800-569-4287.

ACH Debit Borrowers: You have previously authorized Guaranteed Rate to automatically debit your bank account each month for the amount of
your monthly payment of principal, interest, and escrow (if applicable). Please note the amount of your next ACH debit will be changed
(increase/decrease) to reflect the amount of your new monthly payment as reflected herein. Guaranteed Rate, is authorized to debit your bank
account each month until you provide written or oral notice to stop. Termination request must be received by Guaranteed Rate, at least three (3)
business days prior to your next scheduled debit.
